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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DARAIUS DUBASH, and DR. FARAZ         §
HARSINI                               §
                                      §
Plaintiffs,                           §                      CIVIL ACTION
                                      §                      CASE NO. 4:23-cv-03556
v.                                    §
                                      §
CITY OF HOUSTON, TEXAS;               §
HOUSTON DOWNTOWN PARK                 §
CORPORATION; OFFICER ROBERT           §
DOUGLAS (# 7943), in his Individual   §
capacity; OFFICER VERN WHITWORTH §
(# 7595), in his individual capacity; §
DISCOVERY GREEN CONSERVANCY           §
f/k/a HOUSTON DOWNTOWN PARK           §
CONSERVANCY; and BARRY MANDEL, §
in his individual capacity,           §
                                      §
Defendants.                           §

                     ORDER GRANTING DEFENDANTS’ UNOPPOSED
                       JOINT MOTION TO EXCEED PAGE LIMITS

       Defendants’ Joint Motion to Exceed Page Limits [Docket No. 41], requesting an Order

granting leave to exceed the page limits of this Court with regard to their Joint Memorandum of

Law in Response [Docket No. 41] to Plaintiffs’ Motion for Preliminary Injunction [Docket Nos.

13, 15], is GRANTED. Defendants’ Joint Memorandum of Law in Response to Plaintiffs’ Motion

for Preliminary Injunction, [Docket No. 41], may exceed the 20-page limit up to and including 25

pages exclusive of caption, tables of contents, and signature block.

       IT IS FURTHER ORDERED that Plaintiffs are hereby granted five additional pages for

their Reply.


       Signed this      day of December, 2023.


                                   _____________________________________________
                              UNITED STATES DISTRICT JUDGE ANDREW S. HANEN

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